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   Message

   From:          David M. Post (davjd.post@yaie.edu]
   Sent:          11/6/2015 8:23:12 PM
   To:            Gleason, Angela [angela.gleason@yale.edu]; Spangier, Stephanie [stephanie.spangler@yale.edu]; Killheffer, Jason
                  [jason.killheffer@yale.edu]; Sawyer, Susan [susan.sawyer@yaie.edu]; aiice.menon@yaie.edu
   Subject:       updates



   Hello Angle,




   Cheers,
   David.

   On 11/6/2015 3:46 PM, Gleason, Angela wrote:
   HI all -i met earlier today with the complainant In the Jack Montague case. She Is (at this point) willing to participate as a
   witness In a University Title iX complaint, but she wants a few days to think It over. After she expressed her willingness
   to participate, David joined us and addressed her questions and concerns about next steps and the UWC process. She'll
   contact me early next week with her decision. In the meantime, we encouraged her to reach out to Amy Myers, whom
   she's already worked with, for advice and support.




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   Angie




   David M. Post
   Professor of Ecology and Evolutionary Biology
   Chair, Universit\^-Wide Committee on Sexual Misconduct
   Yale University
   203-432-3005
   postlab.vale.edu




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    Message
    From:         Gleason, Angela [/0=YALE UNIVERSITY/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=ANGELA.GLEASON]
   Sent:          11/6/2015 6:03:32 PM
   To:            Sawyer, Susan [susan.sawyer(5)yale.edu]
   Subject:       Re: updates




    Best,
   Angle


   Sent from my IPhone


   On Nov 6, 2015, at 5:59 PM, Sawyer, Susan <susan.sawver@vale.edu> wrote:



   Sent from my iPhone


   On Nov 6, 2015, at 5:50 PM, Gleason, Angela <angela.gleason(S)vale.edu> wrote:
    HI Susan -I



    Best,
   Angle


   Sent from my IPhone


   On Nov 6, 2015, at 5:30 PM, Sawyer, Susan <susan.sawver@vale.edu> wrote:
   Angle,
   Thanks so much for all your work on these hard cases.
                            -Susan



   Susan Sawyer
   Senior Associate General Counsel
   Yale University
   Office of the Vice President and General Counsel
   2 Whitney Avenue, 6th Floor
   New Haven, CT 06510


   Tel: (203)432-4949
   Fax: (203) 432-7960
   Enriall: susan.sawyer@vale.edu




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    From: "Gleason, Angela" <angela.gleason(5)vale.edu>
    Date: Friday, November 6, 2015 at 3:46 PM
   To: "Spangler, Stephanie" <stephanie.spangler@vale.edu>. "Klllheffer, Jason" <iason.klllheffer(g)vale.edu>. Susan Sawyer
    <susan.sawver@vale.edu>. "allce.menon@vale.edu" <allce.menon@vale.edu>. "david.post@vale.edu"
    <davld.post@vale.edu>
    Subject: updates


   HI all -I met earlier today with the complainant in the Jack Montague case. She is (at this point) willing to participate as a
   witness In a University Title IX complaint, but she wants a few days to think It over. After she expressed her willingness
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   contact me early next week with her decision. In the meantime, we encouraged her to reach out to Amy Myers, whom
   she's already worked with, for advice and support.




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